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                  Exhibit G




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 1   Gary S. Brotman (SBN 287726)
 2   gary@marqueelaw.com
     Diego Gallego Gómez (SBN 337395)
 3   diego@marqueelaw.com
     MARQUEE LAW GROUP, A Professional Corporation
 4   9100 Wilshire Boulevard, Suite 445 East Tower
 5   Beverly Hills, California 90212
     (310) 275-1844 telephone
 6   (310) 275-1801 fax
 7   Attorney for Plaintiff
 8   GEARY SHA

 9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                  COUNTY OF SAN FRANCISCO

11   GEARY SHA, an individual;                     )   Case No.: CGC-23-606989
                                                   )
12                      Plaintiff,                 )
                                                   )
13                vs.                              )
                                                   )   PLAINTIFF GEARY SHA’S RESPONSES
14   AIRCRAFT SERVICE INTERNATIONAL, )                 TO DEFENDANTS’ SPECIAL
     INC., a Delaware corporation; MENZIES         )
15   AVIATION (USA), INC. a Delaware
                                                   )   INTERROGATORIES, SET ONE.
                                                   )
16   Corporation; TRACY AGUILAR, an                )
     individual; and DOES 1 through 50, inclusive. )
17                                                 )   Complaint filed: June 9, 2023
                      Defendants.                  )
18                                                 )
                                                   )
19                                                 )
                                                   )
20
21   Responding Party:        GEARY SHA
22   Propounding Party:       AIRCRAFT SERVICE INTERNATIONAL, INC. et al.
23   Set Number: One
24
25          Plaintiff Geary Sha hereby responds to the Special Interrogatories (the “Interrogatories”)

26   propounded by Defendants Aircraft Service International Inc., Menzies Aviation (USA), Inc.,

27   and Tracy Aguilar (“Defendants”) as follows:

28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
           INTERNATIONAL, INC.’S ET AL. SPECIAL INTERROGATORIES (SET ONE)
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 1                                   PRELIMINARY STATEMENT
 2          These responses to Defendant’s Special Interrogatories, Set One, are made solely for the
 3   purpose of, and in relation to, this action. Each response is given subject to all appropriate
 4   objections (including, but not limited to, objections concerning competency, relevancy,
 5   materiality, propriety and admissibility) and all such objections and grounds therefore are
 6   reserved and may be interposed at the time of trial.
 7          Responding Party has yet to complete investigation of the facts relating to this action, has
 8   not yet completed discovery in this action, and has not yet completed preparation for trial.
 9   Consequently, the following responses are given without prejudice to the right to produce, at the
10   time of trial, subsequently discovered evidence.
11          Except for facts explicitly admitted in these responses, no admission of any nature
12   whatsoever is to be implied or inferred. The fact that a response has been given should not be
13   taken as an admission, or a concession of the existence of any facts set forth or assumed by the
14   request, or that such response constitutes evidence of any fact thus set forth or assumed. All
15   responses are to be construed on the basis of present recollection.
16
                                         GENERAL OBJECTIONS
17
            RESPONDING PARTY interposes the following objections to each and every request
18
     propounded as follows:
19
            1.      RESPONDING PARTY objects to this set of Interrogatories, and to each and
20
     every Interrogatory contained therein, to the extent it seeks to impose upon RESPONDING
21
     PARTY duties beyond those required by the California Code of Civil Procedure.
22
            2.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
23
     Interrogatory contained therein, to the extent it seeks information neither relevant to the claims
24
     or defenses on file in the present action, nor admissible, nor reasonably calculated to lead to the
25
     discovery of admissible evidence.
26
            3.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
27
     Interrogatory contained therein, to the extent it seeks privileged information, including but not
28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   necessarily limited to information encompassed and protected by the attorney-client privilege
 2   and/or the attorney work product privilege.
 3          4.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
 4   Interrogatory contained therein, to the extent it seeks information which constitutes trade secrets,
 5   proprietary, or other confidential information.
 6          5.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
 7   Interrogatory contained therein, to the extent that the burden, expense or intrusiveness of the
 8   discovery is not outweighed by the likelihood that the information sought will lead to the
 9   discovery of admissible evidence.
10          6.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
11   Interrogatory contained therein, to the extent that the discovery sought is unreasonably
12   cumulative or duplicative of other discovery propounded in this action.
13          7.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
14   Interrogatory contained therein, to the extent that the information sought is (a) in Propounding
15   Party’s possession, custody or control, (b) outside RESPONDING PARTY’S possession,
16   custody or control, or (c) equally or more accessible to Propounding Party, as a matter of public
17   record or otherwise.
18          8.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
19   Interrogatory contained therein, to the extent that the information sought is unduly burdensome
20   or expensive in light of the needs of the case and the amount in controversy.
21          9.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
22   Interrogatory contained therein, to the extent that the discovery seeks information that is outside
23   the scope of permissible discovery.
24          10.     RESPONDING PARTY objects to this set of Interrogatories, and each and every
25   Interrogatory contained therein, to the extent it may cause unwarranted annoyance,
26   embarrassment, oppression, or undue burden and expense.
27          11.      RESPONDING PARTY objects to this set of Interrogatories, and each and every
28   Interrogatory contained therein, to the extent it seeks legal or expert conclusions or opinions.
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
           INTERNATIONAL, INC.’S ET AL. SPECIAL INTERROGATORIES (SET ONE)
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 1           12.       The inadvertent identification, disclosure, or production of any information
 2   protected from discovery by the attorney-client privilege, the attorney work product immunity
 3   doctrine, or any other privilege or immunity doctrine applicable under law is not intended to be
 4   and shall not be construed as a waiver of any applicable privilege or immunity doctrine.
 5   RESPONDING PARTY reserves the right to demand the return of any such information so
 6   identified, disclosed, or produced, and no affirmative use shall be made by any party of any such
 7   information inadvertently identifies, disclosed, or produced.
 8           13.       RESPONDING PARTY objects to this set of Interrogatories, and each and every
 9   Interrogatory contained therein, to the extent it is overly broad, vague, ambiguous, or otherwise
10   unintelligible.
11           14.       RESPONDING PARTY’S investigation, discovery and preparation for trial is
12   incomplete and will be continuing up to the time of trial in this matter. RESPONDING PARTY
13   has not completed investigation or discovery with respect to all persons who have knowledge or
14   facts upon which the allegations referred to in the requests are based. Accordingly,
15   RESPONDING PARTY will respond to these requests to the extent possible at this time, but
16   each reserves the right to amend or supplement his answers based on further discovery, as well
17   as the right to introduce oral and documentary evidence at any motion or trial of this action
18   which is in addition to or different from the evidence described in these responses.
19           Without in any way waiving such objections, RESPONDING PARTY responds to the
20   discovery request as follows:
21
22   SPECIAL INTERROGATORY NO. 1:
23   Please state the names, addresses and phone numbers of all persons who YOU contend are
24   witnesses to the allegations contained in YOUR COMPLAINT.
25   RESPONSE TO SPECIAL INTERROGATORY NO. 1:
26           Objection. RESPONDING PARTY objects to the extent this interrogatory contains
27   subparts and is a compound, conjunctive, and/or disjunctive request. RESPONDING PARTY
28   objects to this interrogatory to the extent that it seeks the contact information of its own
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   employees, which is equally available to the Propounding Party. RESPONDING PARTY objects
 2   to this request to the extent that it calls for a legal conclusion. RESPONDING PARTY objects to
 3   this discovery to the extent that it seeks to elicit information protected by the attorney/client
 4   privilege and the attorney work product doctrine obtained in anticipation of litigation.
 5   RESPONDING PARTY objects to this interrogatory to the extent that it calls for information
 6   protected by any privilege or constitutional, statutory or common laws. RESPONDING PARTY
 7   specifically reserves the right to raise additional objections by way of privilege (whether
 8   constitutional, statutory or common law) or otherwise
 9          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
10   responds as follows: Rowena Cariola, Tracy Aguilera, Human Resources Manager, 730 N.
11   McDonnell Road, San Francisco, CA 94128, (650) 745-1618; (415) 850-9699.
12          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
13   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
14   reserves the right to supplement this response at a later date.
15
16   SPECIAL INTERROGATORY NO. 2:
17   Please state with particularity the knowledge that each alleged witness to YOUR COMPLAINT
18   has that is in any way relevant to the allegations contained in YOUR COMPLAINT.
19   RESPONSE TO SPECIAL INTERROGATORY NO. 2:
20          Objection. RESPONDING PARTY objects to this request to the extent it is over broad,
21   unduly burdensome, oppressive. RESPONDING PARTY objects that this interrogatory calls for
22   information equally, if not more, available to PROPOUNDING PARTY. RESPONDING
23   PARTY objects to this discovery to the extent that it seeks to elicit information protected by the
24   attorney/client privilege and the attorney work product doctrine obtained in anticipation of
25   litigation. RESPONDING PARTY objects to this interrogatory to the extent that it calls for
26   information protected by any privilege or constitutional, statutory or common laws.
27   RESPONDING PARTY specifically reserves the right to raise additional objections by way of
28   privilege (whether constitutional, statutory or common law) or otherwise.
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1          Without waiving the aforementioned objections, RESPONDING PARTY responds as
 2   follows: Rowena Cariola and Tracy Aguilera have first-hand knowledge regarding
 3   RESPONDING PARTY’S requests for medical leave as well as his termination as Aguilera was
 4   RESPONDING PARTY’S point of contact and the one who informed RESPONDING PARTY
 5   that his leave was approved and that he was terminated. Aguilera was the one who refused to
 6   allow RESPONDING PARTY to return to his position, offered RESPONDING PARTY entry-
 7   level jobs and who informed him that he could apply to out of state/out of country managerial
 8   positions. Lastly, Aguilera is the one who terminated RESPONDING PARTY and classified it as
 9   a voluntary resignation despite RESPONDING PARTY’S constant objections that he was not
10   voluntarily resigning.
11          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
12   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
13   reserves the right to supplement this response at a later date.
14
15   SPECIAL INTERROGATORY NO. 3:
16   Please state each and every item of damages that YOU claim YOU suffered by reason of the
17   occurrences that form the subject matter of YOUR COMPLAINT.
18   RESPONSE TO SPECIAL INTERROGATORY NO. 3:
19          Objection. Vague and ambiguous as to “damages”. RESPONDING PARTY objects to
20   this request to the extent it is over broad, unduly burdensome, oppressive. RESPONDING
21   PARTY objects to the extent this interrogatory contains subparts and is a compound,
22   conjunctive, and/or disjunctive request. RESPONDING PARTY objects to this discovery to the
23   extent that it seeks to elicit information protected by the attorney/client privilege and the attorney
24   work product doctrine obtained in anticipation of litigation. RESPONDING PARTY objects to
25   this interrogatory to the extent this interrogatory violates RESPONDING PARTY’S right of
26   privacy, including financial privacy, which is guaranteed by Article I, Section 1 of the California
27   Constitution. RESPONDING PARTY objects to this interrogatory to the extent that it calls for
28   information protected by any privilege or constitutional, statutory or common laws.
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   RESPONDING PARTY specifically reserves the right to raise additional objections by way of
 2   privilege (whether constitutional, statutory or common law) or otherwise.
 3          Without waiving the aforementioned objections, RESPONDING PARTY responds as
 4   follows:
 5      1) Lost past earnings: $73,192 ($81,000 ($9,000 monthly salary x 9 months (January –
 6          September)) – $7,808 YTD earnings at new job).
 7      2) Lost future earnings: $1,254,000 [($108,000 yearly salary x 33 years = $3,564,000) -
 8          $70,000 yearly salary x 33 years = $2,310,000)].
 9
        3) Lost future bonuses: $356,400 (yearly bonus estimated at $10,800 x 33 years).
10
        4) Lost past benefits (medical, dental, vision): Approximately $13,500 (benefits estimated at
11
            $1,500/mon x 9 months to cover RESPONDING PARTY and 3 dependents).
12
        5) Lost future benefits (medical, dental, vision): Approximately $594,000 (benefits
13
            estimated at $1,500/mon x 33 years to cover RESPONDING PARTY and 3 dependents).
14
        6) Punitive damages to punish and deter the malicious, despicable, willful, and wrongful
15
            actions taken by Defendants due to the disability discrimination, Defendant’s failure to
16
            prevent, investigate, and/or remedy the discrimination and retaliation, and wrongful
17
            termination;
18
        7) General damages due to the discriminatory and retaliatory actions taken by Defendants as
19
            set forth in RESPONDING PARTY’S complaint;
20
        8) Compensation for attorneys’ fees and costs under RESPONDING PARTY’S claims for
21
            disability discrimination, retaliation, and Defendant’s failure to prevent, investigate,
22
            and/or remedy the discrimination and retaliation, the amount of which shall be submitted
23
            upon completion of the matter in its entirety.
24
            RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
25
     and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
26
     reserves the right to supplement this response at a later date.
27
28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1
 2   SPECIAL INTERROGATORY NO. 4:
 3   Please IDENTIFY any and all DOCUMENTS that support the existence or amount of any item
 4   of damages claimed in Interrogatory No. 3.
 5   RESPONSE TO SPECIAL INTERROGATORY NO. 4:
 6          Objection. RESPONDING PARTY objects to this request to the extent it is over broad,
 7   unduly burdensome, oppressive. RESPONDING PARTY objects to the extent this interrogatory
 8   contains subparts and is a compound, conjunctive, and/or disjunctive request. RESPONDING
 9   PARTY objects to this discovery to the extent that it seeks to elicit information protected by the
10   attorney/client privilege and the attorney work product doctrine obtained in anticipation of
11   litigation. RESPONDING PARTY objects to this interrogatory to the extent this interrogatory
12   violates RESPONDING PARTY’S right of privacy, including financial privacy, which is
13   guaranteed by Article I, Section 1 of the California Constitution. RESPONDING PARTY objects
14   to this interrogatory to the extent that it calls for information protected by any privilege or
15   constitutional, statutory or common laws. RESPONDING PARTY specifically reserves the right
16   to raise additional objections by way of privilege (whether constitutional, statutory or common
17   law) or otherwise.
18          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
19   responds as follows: Pursuant to C.C.P. § 2030.230, RESPONDING PARTY refers to
20   documents that have been produced during discovery, particularly RESPONDING PARTY’S
21   termination notice, related communications between Aguilera and RESPONDING PARTY,
22   RESPONDING PARTY’S payroll records and mitigation efforts. See Exhibits A - C.
23          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
24   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
25   reserves the right to supplement this response at a later date.
26
27
28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   SPECIAL INTERROGATORY NO. 5:
 2   Please state the names, addresses and phone numbers of all psychologists, psychoanalysts, and/or
 3   psychotherapists that YOU have visited in the last 10 years.
 4   RESPONSE TO SPECIAL INTERROGATORY NO. 5:
 5          Objection. RESPONDING PARTY objects to this request to the extent it is over broad,
 6   unduly burdensome, oppressive. RESPONDING PARTY objects to the extent this interrogatory
 7   contains subparts and is a compound, conjunctive, and/or disjunctive request. RESPONDING
 8   PARTY objects to this interrogatory to the extent that the discovery seeks information that is
 9   outside the scope of permissible discovery. RESPONDING PARTY objects to this interrogatory
10   to the extent that it seeks to elicit information protected by the attorney/client privilege and the
11   attorney work product doctrine obtained in anticipation of litigation. RESPONDING PARTY
12   objects to this interrogatory to the extent that it seeks information protected by the right of
13   privacy under Article I, Section 1 of the California Constitution. The constitutional right to
14   privacy also applies to a party’s medical records. (John B. v. Superior Court (Bridget B., (2006)
15   38 Cal.4th 1177, 1198). This interrogatory further violates the physician-patient privilege.
16   RESPONDING PARTY objects to this interrogatory to the extent that it calls for information
17   protected by any privilege or constitutional, statutory or common laws. RESPONDING PARTY
18   specifically reserves the right to raise additional objections by way of privilege (whether
19   constitutional, statutory or common law) or otherwise. Due to the aforementioned objections,
20   RESPONDING PARTY is unable to provide a response.
21
22   SPECIAL INTERROGATORY NO. 6:
23   Please IDENTIFY any and all steps YOU have taken to mitigate any damages YOU have
24   allegedly incurred.
25   RESPONSE TO SPECIAL INTERROGATORY NO. 6:
26          Objection. Vague and ambiguous as to “IDENTIFY”. RESPONDING PARTY objects to
27   this request to the extent it is over broad, unduly burdensome, oppressive. RESPONDING
28   PARTY objects to this discovery to the extent that it seeks to elicit information protected by the
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   attorney/client privilege and the attorney work product doctrine obtained in anticipation of
 2   litigation. RESPONDING PARTY objects to this request to the extent this interrogatory violates
 3   RESPONDING PARTY’S right of privacy, including financial privacy, which is guaranteed by
 4   Article I, Section 1 of the California Constitution. RESPONDING PARTY objects to this
 5   interrogatory to the extent that it calls for information protected by any privilege or
 6   constitutional, statutory or common laws. RESPONDING PARTY specifically reserves the right
 7   to raise additional objections by way of privilege (whether constitutional, statutory or common
 8   law) or otherwise.
 9          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
10   responds as follows: Pursuant to C.C.P. § 2030.230, RESPONDING PARTY refers to
11   documents that have been produced during discovery, particularly documents reflecting
12   RESPONDING PARTY’S mitigation efforts. Please see Exhibit C.
13          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
14   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
15   reserves the right to supplement this response at a later date.
16
17   SPECIAL INTERROGATORY NO. 7:
18   Please IDENTIFY all employment positions for which YOU have applied since January 3, 2023.
19   RESPONSE TO SPECIAL INTERROGATORY NO. 7:
20          Objection. Vague and ambiguous as to “IDENTIFY”. RESPONDING PARTY objects to
21   this request to the extent it is over broad, unduly burdensome, oppressive. RESPONDING
22   PARTY objects to this discovery to the extent that it seeks to elicit information protected by the
23   attorney/client privilege and the attorney work product doctrine obtained in anticipation of
24   litigation. RESPONDING PARTY objects to this request to the extent this interrogatory violates
25   RESPONDING PARTY’S right of privacy, including financial privacy, which is guaranteed by
26   Article I, Section 1 of the California Constitution. RESPONDING PARTY objects to this
27   interrogatory to the extent that it calls for information protected by any privilege or
28   constitutional, statutory or common laws. RESPONDING PARTY specifically reserves the right
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1   to raise additional objections by way of privilege (whether constitutional, statutory or common
 2   law) or otherwise.
 3          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
 4   responds as follows: Pursuant to C.C.P. § 2030.230, RESPONDING PARTY refers to
 5   documents that have been produced during discovery, particularly documents reflecting
 6   RESPONDING PARTY’S mitigation efforts. Please see Exhibit C.
 7          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
 8   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
 9   reserves the right to supplement this response at a later date.
10
11   SPECIAL INTERROGATORY NO. 8:
12   Please IDENTIFY all employment positions YOU have held since January 3, 2023.
13   RESPONSE TO SPECIAL INTERROGATORY NO. 8:
14          Objection. Vague and ambiguous as to “IDENTIFY”. RESPONDING PARTY objects to
15   this request to the extent it is over broad, unduly burdensome, oppressive. RESPONDING
16   PARTY objects to this discovery to the extent that it seeks to elicit information protected by the
17   attorney/client privilege and the attorney work product doctrine obtained in anticipation of
18   litigation. RESPONDING PARTY objects to this request to the extent this interrogatory violates
19   RESPONDING PARTY’S right of privacy, including financial privacy, which is guaranteed by
20   Article I, Section 1 of the California Constitution. RESPONDING PARTY objects to this
21   interrogatory to the extent that it calls for information protected by any privilege or
22   constitutional, statutory or common laws. RESPONDING PARTY specifically reserves the right
23   to raise additional objections by way of privilege (whether constitutional, statutory or common
24   law) or otherwise.
25          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
26   responds as follows: Account Manager for Alliance Ground International.
27
28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
 2   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
 3   reserves the right to supplement this response at a later date.
 4
 5   SPECIAL INTERROGATORY NO. 9:
 6   For each position identified in YOUR response to Interrogatory No. 8, state (a) the date on which
 7   YOU were hired, (b) YOUR job position, (c) YOUR hourly wage, and (d) the date on which
 8   YOU were terminated or the position ended.
 9   RESPONSE TO SPECIAL INTERROGATORY NO. 9:
10          Objection. Vague and ambiguous as to “identified”. RESPONDING PARTY objects to
11   this request to the extent it is over broad, unduly burdensome, oppressive. RESPONDING
12   PARTY objects to the extent this interrogatory contains subparts and is a compound,
13   conjunctive, and/or disjunctive request. RESPONDING PARTY objects to this discovery to the
14   extent that it seeks to elicit information protected by the attorney/client privilege and the attorney
15   work product doctrine obtained in anticipation of litigation. RESPONDING PARTY objects to
16   this request to the extent this interrogatory violates RESPONDING PARTY’S right of privacy,
17   including financial privacy, which is guaranteed by Article I, Section 1 of the California
18   Constitution. RESPONDING PARTY objects to this interrogatory to the extent that it calls for
19   information protected by any privilege or constitutional, statutory or common laws.
20   RESPONDING PARTY specifically reserves the right to raise additional objections by way of
21   privilege (whether constitutional, statutory or common law) or otherwise.
22          Subject to and without waiving the aforementioned objections, RESPONDING PARTY
23   responds as follows: (a) – (d): July 25, 2023; Account Manager; $70,000/year; still employed.
24          RESPONDING PARTY’S investigation into this matter is still in its preliminary stages
25   and RESPONDING PARTY’S investigation is ongoing. Therefore, RESPONDING PARTY
26   reserves the right to supplement this response at a later date.
27
28
         PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS AIRCRAFT SERVICE
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 1                                      MARQUEE LAW GROUP, A.P.C.
 2
 3
 4   Date: September 29, 2023           By:_____________________________
                                          Gary S. Brotman
 5
                                          Attorneys for Plaintiff Geary Sha
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        1
                                                             VERIFICATION
        2

        3
                     I am a party to this action, and I have read the foregoing PLAINTIFF GEARY SHA’S
        4
             RESPONSES TO DEFENDANTS’ SPECIAL INTERROGATORIES, SET ONE and know its
        5
             contents. The matters stated in said document are true based on my own knowledge, except as to
        6
             those matters stated on information and belief, and as to those matters, I believe them to be true.
        7
                     I declare under penalty of perjury under the laws of the State of California that the
        8
                                                                      9/29/2023
        9
             foregoing is true and correct as of today’s date, ______________________.

      10

      11

      12                                               ________________________________

      13
                                                       GEARY SHA

      14

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                                                             VERIFICATION
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                                                                                                       Page 113
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 1                                         PROOF OF SERVICE

 2        I declare that I am over the age of eighteen (18) and not a party to this action. My business
   address is 9100 Wilshire Boulevard, Suite 445, East Tower, Beverly Hills, California 90212.
 3        On September 29, 2023 I served the foregoing document(s) described as:
 4
              PLAINTIFF GEARY SHA’S RESPONSES TO DEFENDANTS’ SPECIAL
 5                          INTERROGATORIES, SET ONE.

 6 on all interested parties in this action by transmitting a true copy of the document(s) described
     above, addressed as follows:
 7
 8                                  SEE ATTACHED SERVICE LIST
     ( )    BY MAIL as follows: I am “readily familiar” with the firm’s practice of collection and
 9          processing of correspondence for mailing with the United States Postal Service. I know
10          that the correspondence was deposited with the United States Postal Service on the same
            day this declaration was executed in the ordinary course of business. I know that the
11          envelope was sealed and, with postage thereon fully prepaid, placed for collection and
            mailing on this date in the United States mail at Beverly Hills, California.
12
     ( )    BY PERSONAL SERVICE: I caused to be delivered such envelope by hand to the
13          above addressee(s).

14   ( )    BY OVERNIGHT COURIER: I am “readily familiar” with the firm’s practice of
            collecting and processing overnight deliveries, which includes depositing such packages in
15          a receptacle used exclusively for overnight deliveries. The packages were deposited
            before the regular pickup time and marked accordingly for delivery the next business day.
16   (X)    BY ELECTRONIC TRANSMISSION: Participants in this case were served
            electronically to the address of the recipient(s) as set forth below. I am readily familiar
17          with the Code of Civil Procedure and California Rules of Court for electronic service and
18          this document/these documents were duly served electronically in accordance with said
            rules and regulations on the date stated above, and the transmission was reported as
19          complete and without error.

20           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct. Executed on September 29, 2023 at Beverly Hills, California.
21
22
                                                                 __________________________
23                                                                 Kimberly Gomez Garcia

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                                             PROOF OF SERVICE                            Page 114
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 1
 2
     SERVICE LIST:
 3
      FOLEY & LARDNER LLP                            Attorneys for Defendant AIRCRAFT SERVICE
 4    c/o Christopher Ward, Esq.                     INTERNATIONAL, INC.; MENZIES
      c/o Kevin Jackson, Esq.                        AVIATION (USA), INC.; and TRACY
 5
      555 South Flower Street, Suite 3300            AGUILAR
 6    Los Angeles, CA 90071
      E : cward@foley.com;
 7    kjackson@foley.com;
      SMoreno@foley.com
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                                            PROOF OF SERVICE                   Page 115
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